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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CRIMINAL CASE NO: 1:21-CR-00382-PLF
                                           )
CHRISTOPHER WARNAGIRIS                     )
                                           )
         DEFENDANTS.                       )
__________________________________________)

       DEFENDANT’S REPLY TO GOVERNMENT’S FILING ECF NO. 57
———————————————————————————————————————


        Having endeavored for a prolonged period to acquire Grand Jury materials from the

Government, the Defense, on May 18, 2023, found it necessary to submit a motion requesting

these materials. This step was prompted by the latest communication from Government counsel

Rebekah Lederer, dated April 27, 2023, asserting that "the transcripts are not ripe for production

at this time."

        A few hours after the Defense filed the Motion seeking Grand Jury materials (ECF No.

56) Ms. Lederer emailed one of the Grand Jury transcripts to the defense, along with identifying

the exhibits used. Government counsel also advised that the exhibits were previously produced to

defense counsel— albeit they were not labeled as Grand Jury exhibits. A correction to the

production and an additional Grand Jury transcript were emailed to defense counsel the next day.

        Immediately following the distribution of these materials to the defense, the Government,

on May 19, 2023, submitted its formal Response to the Defendant’s Motion (ECF No. 57). Ms.

Lederer informed the court that all necessary materials had been furnished and thus the



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Defendant’s motion is moot, yet opposing counsel obfuscated the chronology of the production

and created an implication that defendant’s motion was potentially frivolous, requiring the

defense to file this Reply for clarification.

        ECF No. 56 has been rendered moot through the Government's production of the Grand

Jury materials in response to the filing.




                                                Respectfully submitted,

                                                By Counsel:

                                                       /s/
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                          CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on May 22, 2023, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.

                                                      /s/
                                                Marina Medvin, Esq.




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